                     UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION


UNITED STATES OF AMERICA,                         )
                                                  )
              Plaintiff,                          )
                                                  )
                                                  )
      Vs.                                         ) Case No. 03-00276-01-CR-W-SOW
                                                  )
JAMES EARL WATERS,                                )
                                                  )
              Defendant.                          )


            ORDER MODIFYING CONDITIONS AND REDUCING TERM OF
                          SUPERVISED RELEASE

       For good and sufficient cause, as shown by the U.S. Probation Office, it is hereby

ORDERED that the following condition of supervised release be removed:


       The defendant will reside in and satisfactorily participate in a residential
       reentry center program, until discharged by the center director after
       consultation with the Probation Office, for a period not to exceed 120 days.


       it is also hereby ORDERED that James Earl Waters’ supervised release term be reduced

from 24 months to 12 months.




                                                    ___/s/ Scott O. Wright_______________
                                                              SCOTT O. WRIGHT
                                                       SENIOR U.S. DISTRICT JUDGE


Dated at Kansas City, Missouri, this   15th    Day of   January , 2013.




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